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                                                    EXHIBIT B
                                  Lordstown Motors Corp., et al. - CASE NO: 23-10831
                                              EXPENSE SUMMARY
                               FOR THE PERIOD November 1, 2023 TO November 30, 2023

   DATE        PROFESSIONAL                                      DESCRIPTION                                         AMOUNT
Business Meals
  11/2/2023 Matthew Altman    Overtime Meal (Working Dinner)                                                             $21.07
  11/6/2023 Matthew Altman    Overtime Meal (Working Dinner)                                                              26.49
  11/8/2023 Matthew Altman    Overtime Meal (Working Dinner)                                                              28.49
 11/13/2023 Matthew Altman    Overtime Meal (Working Dinner)                                                              30.00
 11/16/2023 Matthew Altman    Overtime Meal (Working Dinner)                                                              29.99
                                                                                 Subtotal Business Meal Expenses        $136.04

Transportation
  11/8/2023 Matthew Altman    Late Night Uber/Taxi - Office to Home                                                      $30.41
                                                                                 Subtotal Transportation Expense         $30.41

Conference Calls
 11/30/2023 M3 Team           Conference Calls                                                                           $36.99
                                                                               Subtotal Conference Calls Expense         $36.99

Professional Services
 11/30/2023 M3 Team           Next Chapter Associates (Insurance Matters)                                              $7,600.00
                                                                                    Subtotal Professional Services     $7,600.00

Total                                                                                                                  $7,803.44
